                                           Case 3:23-cv-00243-AMO Document 47 Filed 07/28/23 Page 1 of 2




                                   1                                               UNITED STATES DISTRICT COURT

                                   2                                           NORTHERN DISTRICT OF CALIFORNIA

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                                         CEDRIC DE LISSER, CHRISTOPHER MOSER, and
                                   4                                                               ,
                                         MICHAEL MICHELIN, in their capacity as the Trustees of Cred          Case No. 3:23-cv-00243-AMO
                                         Liquidation Trust
                                                                Plaintiff(s),
                                   5
                                                                                                              APPLICATION FOR ADMISSION OF
                                                      v.                                                      ATTORNEY PRO HAC VICE
                                   6    LOCKTON COMPANIES LLC, d/b/a LOCKTON INSURANCE BROKERS,
                                        LLC, a Missouri limited liability company; LOCKTON COMPANIES, LLC -   (CIVIL LOCAL RULE 11-3)
                                   7    PACIFIC SERIES, d/b/a LOCKTON INSURANCE BROKERS, LLC, a    ,
                                        Missouri limited liability company; and DOES 1-10, inclusive.
                                                                Defendant(s).
                                   8

                                   9

                                  10             I, Robert J. LaCroix                           , an active member in good standing of the bar of

                                  11   State of New York, No. 5825898                           , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing:                    Trustees of the Cred Inc. Liquidation Trust in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Craig C. Daniel                                            , an

                                  14   attorney who is a member of the bar of thisText
                                                                                   Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: 212588
                                                                                                         _________________.

                                  16    420 Lexington Avenue, Ste. 2731                                        201 Mission Street, Suite 1330
                                        New York, New York 10170                                               San Francisco, California 94105
                                  17    MY ADDRESS OF RECORD                                                   LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   512-647-6118                                                           415-510-2114
                                        MY TELEPHONE # OF RECORD                                               LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       rlacroix@reidcollins.com                                               litigation@gluckdaniel.com
                                  20    MY EMAIL ADDRESS OF RECORD                                             LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22             I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 5825898                                          .
                                  24             A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26             I have been granted pro hac vice admission by the Court 0_______ times in the 12 months
                                  27   preceding this application.
                                  28
                                           Case 3:23-cv-00243-AMO Document 47 Filed 07/28/23 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: July 28, 2023                                          Robert J. LaCroix
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Robert J. LaCroix                       is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
